Case 2:21-cv-02001-PKH Document 24              Filed 10/25/21 Page 1 of 1 PageID #: 122




                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FORT SMITH DIVISION


JASON MILLER                                                                       PLAINTIFF

v.                               CASE NO. 2:21-CV-2001

CAPTAIN WILLIAM DUMAS,
EDDIE SMITH, ASHLEY SMITH,
AND SHERIFF HOBE RUNION                                                        DEFENDANTS

                                           ORDER

       The Court has received a report and recommendation (Doc. 23) from Chief United States

Magistrate Judge Mark E. Ford. No objections have been filed and the deadline to file objections

has passed. The Magistrate recommends that the Court dismiss this action without prejudice for

failure to prosecute. The report and recommendation is proper, contains no clear error, and is

ADOPTED IN ITS ENTIRETY.

       IT IS THEREFORE ORDERED that this case is DISMISSED WITHOUT PREJUDICE.

       Judgment will be entered accordingly.

       IT IS SO ORDERED this October 25, 2021.


                                                   /s/P. K. Holmes III
                                                   P.K. HOLMES III
                                                   U.S. DISTRICT JUDGE
